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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF OKLAHOMA

                                         Case No. 6:17-cv-00033-RJS
                                         The Honorable Robert J. Shelby
IN RE: BROILER CHICKEN GROWER
LITIGATION                               PLAINTIFFS’ RESPONSE IN
                                         OPPOSITION TO DEFENDANTS’
This Document Relates To All Cases       CORRECTED SUPPLEMENTAL
                                         BRIEF IN SUPPORT OF THEIR
                                         MOTION TO DISMISS
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I.     INTRODUCTION
       Defendants’ 1 belated attempt to attack Plaintiffs’ detailed relevant geographic market
allegations fails for three main reasons. First, the Consolidated Amended Complaint (“CAC”)
sufficiently alleges a relevant geographic market, which is defined by reference to whether changes
in price—here, pay—would cause new or existing sellers—here, Growers—to move in response
to such changes. The CAC alleges that, absent the challenged conduct, Integrators would compete
nationwide for established or new Growers. CAC ¶¶ 82, 129, 134, 135, 141. Additionally, the CAC
also relevantly alleges that services demanded of Growers are standardized across the country, id.
¶¶ 134, 141, 143, Co-Conspirators share the detailed Grower pay information at issue on a
nationwide basis, id. ¶ 138, and Integrators, regardless of region, impose on Growers near uniform
contracts, id. ¶ 134. Defendants’ renewed motion is largely premised on contesting these factual
allegations, which is why courts typically reject market definition challenges at the pleading stage.
E.g., Todd v. Exxon Corp., 275 F.3d 191, 199-200 (2d. Cir. 2001). Second, whether the market is
national or regional has no effect on the sufficiency of the claims—and Defendants do not argue
otherwise. The Co-Conspirators comprise nearly the entire national market for buying Grow Out
services, they all use the same Grower payment system (known as the tournament system or
ranking system), and thus they are dominant whether or not the market is national. Third, because
(a) the purpose of defining a relevant market is a means to determine whether conduct has the
potential to cause anticompetitive effects, and (b) the CAC alleges—and Defendants admit—that
the challenged conduct had anticompetitive effects, including suppressed Grower pay, the CAC
would be sufficient even if the geographic market was not. 2


1
  “Defendants” refers to all defendants named in the CAC, see CAC ¶¶ 10-24, with the exception
of defendant Pilgrim’s Pride, which did not join in the filing of the supplemental brief. Defendants’
Corrected Supplemental Brief in Support of Their Motion to Dismiss (“DB”) at 1 n.1, ECF 234.
“Co-Conspirators” refers to non-party Integrators named in the CAC that shared detailed,
competitively sensitive, non-public information about Grower compensation through Agri Stats.
CAC ¶¶ 25-39.
2
  And as discussed below, a plaintiff need not separately plead or prove a relevant market (or
market power) when it can directly prove anticompetitive effects, and Defendants have conceded
those effects by acknowledging that the purpose of their information sharing was to lower costs,
a substantial portion of which is Grower pay. Law v. NCAA, 134 F.3d 1010, 1019-20 (10th Cir.
1998) (“the purpose in antitrust law of market definition [] is not an end unto itself but rather
exists to illuminate a practice’s effect on competition” and those effects may be shown
“indirectly by proving that the defendant possessed the requisite market power within a defined

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II.      ARGUMENT
      A. Plaintiffs Sufficiently Allege a Section 1 Sherman Act Claim under Both a Per Se
         Standard and the Rule of Reason
         The CAC states a Section 1 claim under both a per se standard and the rule of reason. The
rule of reason requires proof that “the alleged agreement causes adverse, anticompetitive effects
in the relevant market.” Law v. NCAA, 902 F. Supp. 1394, 1404 (D. Kan. 1995), aff’d, 134 F.3d
1010 (10th Cir. 1998). Per se analysis is reserved for “certain agreements or practices which
because of their pernicious effect on competition and lack of any redeeming virtue are conclusively
presumed to be unreasonable.” Northern Pacific Ry. Co. v. United States, 356 U.S. 1, 5 (1958). A
standalone information sharing claim is analyzed under the rule of reason. See Todd, 275 F.3d at
198. But the overarching scheme, of which the information sharing agreement is one component,
and the no-poach agreement are analyzed together using per se analysis. See Todd, 275 F.3d at
198; In re Animation Workers Antitrust Litig., 123 F. Supp. 3d 1175, 1214 (N.D. Cal. 2015). 3
         Plaintiffs plead their Section 1 claims under both modes of analysis. See CAC ¶¶ 129-54,
169. Plaintiffs allege the elements under the rule of reason in detail: relevant market, see id.
¶¶ 129-36; market power, see id. ¶¶ 129-36; and anticompetitive effects, see id. ¶¶ 137-54.
Consequently, the Court should reject Defendants’ claim that their failure to raise relevant market
arguments properly in their motion to dismiss—confined to a single footnote in their motion,
Defs.’ Joint Mot. to Dismiss Br. at 11 n.6—was because Plaintiffs only pled a per se theory. That
is plainly wrong, and the failure to properly raise the arguments is reason enough to reject
Defendants’ relevant supplemental motion. 4


market or directly by showing actual anticompetitive effects, such as control over output or
price”) (emphasis added). An agreement by buyers of services that has the effect of lowering the
price paid for those services has long been deemed anticompetitive. Id. at 1023; California ex
rel. Harris v. Safeway, Inc., 651 F.3d 1118, 1161 (9th Cir. 2011).
3
  A party need not name specific legal theories in the complaint, so long as the other side receives
notice as to what is at issue in the case. See, e.g., King v. Kramer, 763 F.3d 635, 642 (7th Cir.
2014). In In re: Cathode Ray Tube (CRT) Antitrust Litigation, the court held defendants were
adequately given notice of per se and rule of reason analysis where plaintiff did not disclaim a rule
of reason theory and alleged both price fixing and information exchange in the complaint. No. C-
07-5944 JST, 2016 WL 5871243, at *5 (N.D. Cal. Oct. 7, 2016).
4
  Courts in this Circuit have regularly held that arguments raised in a perfunctory manner, such as
in a footnote, are waived. See, e.g., Hill v. Kemp, 478 F.3d 1236, 1251 (10th Cir. 2007) (noting
that the court exercises caution in “pursu[ing] late and undeveloped arguments”); Carroll v. United


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   B. Plaintiffs’ Relevant Market Allegations Are Well-Pleaded
       1.      The appropriate geographic market is national
       Defendants’ challenge to the sufficiency of the alleged relevant geographic market should
be rejected for three main reasons. First, Plaintiffs sufficiently plead a plausible geographic
relevant market. A relevant market for antitrust purposes includes a product market and a
geographic market. Christou v. Beatport, LLC, 849 F. Supp. 2d 1055, 1064 (D. Colo. 2012). The
relevant product market—here, a services market—is composed of products (here, services) that
have reasonable interchangeability of use or cross-elasticity of demand between the product and
potential substitutes. Id. at 1065. The relevant product market is provision of broiler Grow-Out
Services. CAC ¶ 129.
       The relevant geographic market is defined not by reference to which products are
interchangeable, but rather the area within which changes in price—here, pay—would cause new
or existing customers—here, sellers—to move or establish themselves in response to such changes.
The relevant geographic market is thus the area in which sellers of services (here, Growers) can
turn—in a market absent the challenged conduct—to sell their services (here, Grow-Out Services)
in response to artificially depressed pay. See Todd, 275 F.3d at 201-02; see also In re Se. Milk
Antitrust Litig., 739 F.3d 262, 277 (6th Cir. 2014) (“Outlining a geographic market entails mapping
an area within which the defendant’s customers who are affected by the challenged practice can
practicably turn to alternative suppliers if the defendant were to raise its prices or restrict its
output.”) (citation omitted).
       The CAC satisfies this test. As set forth in the CAC, “[t]he relevant geographic market is
the United States,” CAC ¶ 129, because “[a]bsent the conduct challenged in this Complaint,
Integrators would consider each other to be competitors for Broiler Grow-Out Services whether
Integrators happen to be in the same region or not, given that Integrators (a) could open plants in
areas where another Integrator (or other Integrators) already exist, and (b) would compete with
each other on a nation-wide basis for established Growers or to incentivize potential new Growers
to move to areas where Integrators have established Complexes.” Id. ¶ 135. See also id. ¶ 82




States, 227 F. Supp. 3d 1242, 1248 n.2 (W.D. Okla. 2017) (declining to consider issue raised only
in a footnote).


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(describing a new Grower who decided on where to establish a grow-out operation because he
believed that would be the area with higher pay).
        Further, the appropriate geographic market is national if the business operates on a national
level, as alleged Co-Conspirators’ businesses do, even if certain individual market participants
operate on the local level. See, e.g., United States v. Grinnell Corp., 384 U.S. 563, 575 (1966)
(ruling that geographic market for security alarm services was national even though the activities
of individual service stations were local). 5 The CAC alleges that the services demanded of Growers
are standardized across the country, CAC ¶¶ 134, 141, 143, the information that is part of the
illegal agreement is nationwide, id. ¶ 138, and that the “Integrators, regardless of region of the
country, [] impose on Growers near uniform contracts (CFAs),” id. ¶ 134. Thus the CAC alleges
a plausible geographic market on its face.
       Second, Defendants’ motion should also be rejected because “market definition is a deeply
fact-intensive inquiry,” and thus “courts hesitate to grant motions to dismiss for failure to plead a
relevant product market.” Todd, 275 F.3d at 199-200 (collecting cases); Suture Exp., Inc. v.
Cardinal Health 200, LLC, 963 F. Supp. 2d 1212, 1222 (D. Kan. 2013) (“[M]any courts recognize
that the definition of the relevant market and a defendant’s power in that market are issues of
fact.”). Further, defining a geographic market as “nationwide” does not require proof that every
Grower would switch to any Integrator in response to changes in levels of pay. Rather, all that is
required is showing that a sufficient number of Growers—whether existing Growers, new entrants,
or Growers who intend to expand operations—would be able to switch in response to changes in
pay such that the Co-Conspirators’ ability to reduce pay below competitive levels would be
constrained (in a world absent the challenged conduct). See, e.g., Gumwood HP Shopping
Partners, L.P. v. Simon Prop. Grp., Inc., No. 3:11-CV-268 JD, 2016 WL 6091244, at *7 (N.D.
Ind. Oct. 19, 2016). That is typically highly fact-specific and data-intensive and is thus not


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  See also Kamakahi v. Am. Soc. for Reprod. Med., No. C 11-01781 SBA, 2013 WL 1768706, at
*12 (N.D. Cal. Mar. 29, 2013) (plaintiffs sufficiently alleged national market where plaintiffs
alleged “nationally coordinated conduct among entities located throughout the United States”); In
re Pool Prod. Distribution Mkt. Antitrust Litig., 940 F. Supp. 2d 367, 381 (E.D. La. 2013) (market
for pool products was national where pricing was set on a national basis, even though individual
service centers operated in particular local markets); Fed. Trade Comm’n v. Cardinal Health, Inc.,
12 F. Supp. 2d 34, 50 (D.D.C. 1998) (drug wholesale market national where pricing in one region
affected pricing nationwide, even though some customers were regional).

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appropriate to resolve on the pleadings.
        Third, Defendants’ main argument—i.e., that the allegations of barriers to Grower mobility
purportedly undermine the concept of a nationwide market, see DB at 3, is wrong. True, the CAC
rightly alleges that Defendants make it difficult for Growers to move once in established
operations. CAC ¶ 93. That is one reason the alleged conduct successfully suppressed Grower pay.
Id. But new market entrants looking to provide Grow-Out Services or those seeking to expand are
not so constrained. And the CAC alleges exit barriers but explicitly contemplates some material
level of Grower mobility in response to artificial suppression of pay. Compare id. ¶ 93 (alleging
high exit barriers) with id. ¶¶ 82 (a new Grower moved to a region because it was area in which
he believed opportunities for higher pay would be best), 135 (Integrators could incentivize
potential new Growers to move to areas where Integrators have established Complexes).
        Absent the Conspiracy, a Grower facing artificial suppression of compensation in one area
would look to move to, or establish itself in, an area with higher, competitive compensation. See
id. ¶¶ 82, 135. And absent the nationwide suppression of competition for Growers, Integrators
could compete by offering to pay for relocation or longer-distance shipping of Broilers, or
otherwise could find ways to attract Growers (including new Growers). See id. ¶¶ 82 (describing
a new Grower who moved to a new region because it was “the broiler capital of [his] state,”
thinking that it provided the best opportunity for higher pay), 141 (new Integrator in a particular area
would have to incentivize new farmers to invest in being Growers). In short, a fair inference from the
CAC is that, in a competitive market, a sufficient number of Growers would view an Integrator in
another region as a reasonably good substitute given an incentive to move or establish itself in the
first instance. For example, if (absent the Conspiracy) a particular Integrator located in Oklahoma
decided to promote itself as the “high pay/best treatment” Integrator in order to attract the best
Growers from around the country, the CAC alleges that that would incentivize new and/or
established Growers to take up the offer. That is a national market.
        Defendants’ cited cases are not to the contrary. Nearly all concern a proposed market that
is too narrow, not too broad. For example, Defendants cite Campfield v. State Farm Mut. Auto.
Ins. Co., 532 F.3d 1111 (10th Cir. 2008), decided on summary judgment, which involved
allegations by an owner of an auto-glass repair shop that State Farm Insurance used its market
power to depress demand for the plaintiff’s specialty of windshield repair. DB at 3. The plaintiff
alleged the relevant market to be “the State Farm insured repairable windshield repair market, in

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the geographic area of the United States of America.” Campfield, 532 F.3d at 1118. The Tenth
Circuit held this definition was “underinclusive” because “the relevant market is one that reflects
the total market demand for plaintiffs’ product, not just defendants’ demand.” Id. The court found
that by limiting the market only to those insured by State farm the plaintiffs had arbitrarily
“circumscribe[d] the market to a few buyers in an effort to manipulate those buyers’ market share.”
Id. at 1119. By contrast, in this case, Plaintiffs have pled a broad national market that does not
attempt to inflate Co-Conspirators’ market power—as described below, the Co-Conspirators are
dominant no matter whether the geographic market is defined broadly or narrowly. 6
        Defendants cite two inapposite cases that were dismissed due to an overbroad market. DB
at 3-5. Defendants’ reliance on Heerwagen v. Clear Channel Commc’ns, 435 F.3d 219 (2d Cir.
2006), DB at 4, for instance, is misplaced. In Heerwagen, after discovery and a three-day
evidentiary hearing, 435 F.3d at 224, the court rejected a national market for live concert tickets
because there was no evidence that those seeking to attend a concert in one city would view a
concert in another as a reasonable substitute. Id. at 228. By contrast, here, the CAC specifically
alleges that “Integrators would consider each other to be competitors for Broiler Grow-Out
Services whether Integrators happen to be in the same region or not.” CAC ¶ 135. Heerwagen
relevantly reaffirms Grinnell, 384 U.S. at 575-76, holding that “we read Grinnell to stand for the
proposition that in some cases involving services that tend to be provided locally, the market for
purposes of the antitrust laws still could be national.” Id. at 230. 7 In short, Defendants’ cited cases


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  Defendants also cite Klein-Becker USA LLC v. Englert, No. 2:06-CV-378 TS, 2007 WL 2821644
(D. Utah Sept. 26, 2007) and TV Commc’ns Network, Inc. v. Turner Network Television, Inc., 964
F.2d 1022 (10th Cir. 1992), DB at 4, which similarly reject plaintiffs’ efforts to inflate market
share by defining and artificially narrow market. Klein-Becker is an extremely cursory opinion
dismissing an antitrust counterclaim, and noting that the counterclaimants did not even file a
substantive response to the motion to dismiss the counterclaim. And without discussion, the court
stated that the plaintiffs did not “adequately state an alleged product market as required to state
either a Sherman Act § 1 or § 2 claim because they do not offer any plausible explanation as to
why a market should be limited in a particular way.” 2007 WL 2821644, at *1 (citation omitted).
In TV Commc’ns Network, the court affirmed dismissal of a Sherman Act claim because the
proposed product market was defined as one of the defendant’s television channels. The court held
that as a matter of law “a company does not violate the Sherman Act by virtue of the natural
monopoly it holds over its own product.” 964 F.2d at 1025. Additionally, both of these cases also
involved disputes over the relevant product market, not the relevant geographic market.
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  Defendants also cite Drake v. Cox Commc’ns., No. 10-2671-JTM, 2011 WL 2680688 (D. Kan.
July 8, 2011). DB at 3. This case involved a pro se plaintiff who complained that a cable television


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involve the wrong scope of geographic market, the wrong type of market, and the wrong stage of
litigation. They do not support a sub-national market here.
       2.      The Complaint is sufficient whether the market is national or regional.
       Whether the market is national as alleged, or regional as Defendants claim, makes no
difference to the sufficiency of the Complaint because Co-Conspirators are dominant—they have
98% of the market—no matter how the market is defined. This is because the purpose of defining
a market is (one way) to determine whether the alleged co-conspirators have sufficient market
power to suppress competition through coordinated conduct. FTC v. Indiana Fed’n of Dentists,
476 U.S. 447, 460 (1986) (“IFD”). A high share of a relevant market indicates substantial market
power. 8 Narrowing the market here would almost certainly make no difference because if the Co-
Conspirators have market power nationwide, they almost certainly have market power in any
narrower regional market. Defendants and their Co-Conspirators account for 98% of Broiler
production in the U.S., CAC ¶ 69, and Defendants account for over 60% by themselves, id. ¶ 132.
In other words, the Co-Conspirators have sufficient market power for their coordinated efforts to
have anticompetitive effects regardless of how the geographic market is defined—and Defendants
do not argue otherwise. The motion thus cannot undermine the sufficiency of the claim.
   C. Direct Proof of Anticompetitive Effects Obviates the Need to Prove, and Thus to
      Plead, Market Power in a Relevant Market
       Defendants’ challenge to the market is irrelevant to the sufficiency of the CAC for another
reason: Plaintiffs have directly pled market power and anticompetitive effects. Given that the
purpose of defining a relevant market is to determine whether the co-conspirators have the market
power to cause anticompetitive effects by coordinating, “proof of actual detrimental effects, such
as a reduction of output, can obviate the need for an inquiry into market power, which is but a
surrogate for detrimental effects.” IFD, 476 U.S. at 460. 9 The CAC contains an entire section


provider refused to give him free air time. But “[n]owhere in [plaintiff’s] many pages of
Complaint, Response, and (unauthorized) Surreplies is there any intelligible definition of the
relevant market within which Cox and the Ad Council have supposedly acquired monopoly
power.” Id.
8
  See, e.g., Toys “R” Us, Inc. v. F.T.C., 221 F.3d 928, 937 (7th Cir. 2000); Tops Markets, Inc. v.
Quality Markets, Inc., 142 F.3d 90, 99 (2d Cir. 1998).
9
  See also Law, 134 F.3d at 1019-20; Toys “R” Us, Inc., 221 F.3d at 937. Defendants argue that
IFD only applies in cases “where direct anticompetitive effects are clear on the face of the
complaint,” such as in price fixing cases. DB at 6-7. However, IFD did not involve price fixing


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devoted to anticompetitive effects, including: (1) the suppression of Grower compensation below
competitive levels, CAC ¶ 137; (2) a reduced intensity of price competition, id. ¶ 139; (3) the
discouragement of new Integrators from moving into areas with only a single Integrator, id. ¶ 141;
and (4) a reduced output of Broilers available for sale on the retail market, which artificially
inflates prices and restricts choice, id. ¶ 145; see generally id. ¶¶ 137-54. The allegations of
anticompetitive effects are supported with economic theory, guidance from the DOJ, and
information about the operation of the Broiler Grow-Out Industry. Id. ¶¶ 137-54. Defendants’
challenge to these allegations fails.
       First, Defendants assert that Plaintiffs do not allege facts connecting allegedly suppressed
Grower compensation to information exchanges. DB at 5. But Defendants have conceded that
their information exchange allowed them to suppress Grower pay—the central alleged
anticompetitive effect. See, e.g., Todd, 275 F.3d at 214 (indicating that suppression of wages can
constitute an anticompetitive effect); Animation Workers, 123 F. Supp. 3d at 1214; In re High-
Tech Employee Antitrust Litig., 856 F. Supp. 2d 1103, 1123 (N.D. Cal. 2012). And, while
Defendants cite no case requiring Plaintiffs to allege that certain specific instances of information
sharing are responsible for certain instances of suppressed Grower pay, Plaintiffs do allege that the
anticompetitive effects stem directly from the anticompetitive conduct. That is enough. Erickson
v. Pardus, 551 U.S. 89, 93 (2007) (“Specific facts are not necessary; the statement need only ‘give
the defendant fair notice of what the . . . claim is and the grounds upon which it rests.’”) (quoting
Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 555 (2007)).
       Second, Defendants assert that Plaintiffs’ allegations are “conclusory and speculative,” and
do not survive a motion to dismiss after Bell Atlantic Corp. v. Twombly, 550 U.S. 544 (2007). DB
at 6. But Plaintiffs’ allegations of suppression of Grower compensation, reduced intensity of price
competition, discouragement of new Integrators from moving into areas, and reduced output of
Broilers are sufficiently detailed. These allegations present vastly more than the “[b]road,



(which is per se illegal) and was applying the rule of reason. See 476 U.S. at 459. IFD applies in
rule of reason cases. See, e.g., Todd, 275 F.3d at 207 (collecting cases); In re Detroit Auto Dealers
Ass’n, Inc., 955 F.2d 457, 469 (6th Cir. 1992) (evaluating case under the rule of reason; affirming
FTC finding that agreement between dealers to limit showroom hours illegal because it resulted in
actual detrimental effects); Wilk v. Am. Med. Ass’n, 895 F.2d 352, 360 (7th Cir. 1990) (evaluating
case under the rule of reason and ruling that proof of boycott’s anticompetitive effects obviated
the need for an inquiry into market power).
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unsupported allegations of actual detrimental effects” in Sherr, cited by Defendants, DB at 6,
where the plaintiff’s allegations did not allege any of the typical anticompetitive effects. Sherr v.
HealthEast Care Sys., 262 F. Supp. 3d 869, 884-85 (D. Minn. 2017).
         Third, Defendants’ reliance on Tarabishi is misplaced. See DB at 6 (citing Tarabishi v.
McAlester Reg’l Hosp., 951 F.2d 1558, 1569 n.15 (10th Cir. 1991)). In Tarabishi, a physician (Dr.
Tarabishi) brought an antitrust action against a hospital, clinic, and other physicians arising out of
the termination of his medical staff privileges, allegedly to prevent him from operating a new
outpatient surgical clinic in competition with the hospital. 951 F.2d at 1560-63. But Dr. Tarabishi
did not prove, after trial, that consumer choices were impaired by the conduct, but instead, simply
showed in conclusory fashion that the hospital’s denial of staff privileges “reduced competition.”
Id. at 1569 n.15. That is nothing like the CAC, which specifically alleges suppressed Grower
compensation, reduced intensity of price competition, discouragement of new Integrators from
moving into certain areas, and reduced output and artificially inflated prices of Broilers available
for sale. CAC ¶¶ 137, 139, 141, 145.
         The CAC pleads that the information sharing agreement was intended to and did drive
down Grower pay, CAC ¶¶ 79, 130, 132, 134, 136-39, 141-43, 145, 150, and the CAC clearly
pleads the anticompetitive effects. Id. ¶¶ 137-54. And Defendants concede those anticompetitive
effects, acknowledging that their goal was to lower costs. Defs.’ Mot. to Dismiss at 1, 4, 12, 16;
Defs.’ Reply Br. at 6. 10 A correct reading of IFD and subsequent cases shows that IFD applies in
rule of reason cases, and that it applies here, where Plaintiffs have pled—and Defendants have
conceded—anticompetitive effects. Thus, the Complaint would have sufficiently alleged a Section
1 violation even if, counterfactually, it had not included a sufficiently alleged relevant market.
III.     CONCLUSION
         The Court should deny Defendants’ motion to dismiss for the reasons set forth above and
in Plaintiffs’ opposition to the motion to dismiss.


Dated: June 1, 2018                            Respectfully submitted,

                                               /s/ Larry D. Lahman


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  See also Law, 134 F.3d at 1019 (holding that where “cost-reduction” scheme “artificially
lower[ed] price of [] services, no further evidence or analysis [wa]s required to find market
power to set prices”).
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                                Larry D. Lahman, OBA #5166
                                Roger L. Ediger, OBA #19449
                                Carol Hambrick Lahman, OBA # 11330
                                Scott E. Cordell, OBA #31522
                                MITCHELL DECLERK
                                202 West Broadway Avenue
                                Enid, OK 73701
                                Telephone: (580) 234-5144
                                Facsimile: (580) 234-8890
                                Email: ldl@mdpllc.com
                                Email: carollahman@gmail.com
                                Email: rle@mdpllc.com
                                Email: sec@mdpllc.com

                                Additional Class Counsel for Plaintiffs and the
                                Proposed Class

                                Michael D. Hausfeld*
                                James J. Pizzirusso*
                                Melinda R. Coolidge*
                                Samantha S. Derksen*
                                HAUSFELD, LLP
                                1700 K Street, NW, Suite 650
                                Washington, DC 20006
                                Telephone: (202) 540-7200
                                Facsimile: (202) 540-7201
                                Email: mhausfeld@hausfeld.com
                                Email: jpizzirusso@hausfeld.com
                                Email: mcoolidge@hausfeld.com
                                Email: sderksen@hausfeld.com

                                Gary I. Smith, Jr.*
                                HAUSFELD, LLP
                                325 Chestnut Street, Suite 900
                                Philadelphia, PA 19106
                                Telephone: (215) 985-3270
                                Facsimile: (215) 985-3271
                                Email: gsmith@hausfeld.com

                                Co-Lead Counsel for Plaintiffs and the Proposed
                                Class

                                Eric L. Cramer*
                                Patrick F. Madden*




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                                Christina Black*
                                BERGER & MONTAGUE, P.C.
                                1622 Locust Street
                                Philadelphia, PA 19103
                                Telephone: (215) 875-3000
                                Facsimile: (215) 875-4604
                                Email: ecramer@bm.net
                                Email: pmadden@bm.net
                                Email: cblack@bm.net

                                Daniel J. Walker*
                                BERGER & MONTAGUE, P.C.
                                2001 Pennsylvania Avenue, NW, Suite 300
                                Washington, DC 20006
                                Telephone: (202) 559-9745
                                Email: dwalker@bm.net

                                Co-Lead Counsel for Plaintiffs and the Proposed
                                Class

                                M. David Riggs
                                Donald M. Bingham
                                Kristopher Koepsel
                                RIGGS ABNEY NEAL TURPEN ORBISON & LEWIS
                                502 West Sixth Street
                                Tulsa, OK 74119
                                Telephone: (918) 699-8914
                                Facsimile: (918) 587-9708
                                Email: driggs@riggsabney.com
                                Email: don_bingham@riggsabney.com
                                Email: kkoepsel@riggsabney.com

                                William A. Edmondson, OBA #2628
                                RIGGS, ABNEY, NEAL, TURPEN, ORBISON & LEWIS
                                528 N.W. 12th Street
                                Oklahoma City, OK 73103
                                Telephone: (405) 843-9909
                                Facsimile: (405) 842-2913
                                Email: dedmondson@riggsabney.com

                                Liaison Counsel for Plaintiffs and the Proposed
                                Class

                                Vincent J. Esades*
                                HEINS MILLS & OLSON, PLC
                                310 Clifton Avenue

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                                Minneapolis, MN 55403
                                Telephone: (612) 338-4605
                                Facsimile: (612) 338-4692
                                Email: vesades@heinsmills.com

                                Warren T. Burns*
                                BURNS CHAREST, LLP
                                900 Jackson Street, Suite 500
                                Dallas, TX 75201
                                Telephone: (469) 904-4550
                                Facsimile: (469) 444-5002
                                Email: wburns@burnscharest.com

                                Gregory Davis*
                                DAVIS & TALIAFERRO, LLC
                                7031 Halcyon Park Drive
                                Montgomery, AL 36117
                                Telephone: (334) 832-9080
                                Facsimile: (334) 409-7001
                                Email: gldavis@knology.net

                                Charles D. Gabriel*
                                CHALMERS, BURCH & ADAMS, LLC
                                North Fulton Satellite Office
                                5755 North Point Parkway, Suite 96
                                Alpharetta, GA 30097
                                Telephone: (678) 735-5903
                                Facsimile: (678) 735-5905
                                Email: cdgabriel@cpblawgroup.com

                                Larry S. McDevitt*
                                David M. Wilkerson*
                                THE VAN WINKLE LAW FIRM
                                11 North Market Street
                                Asheville, NC 28801
                                Telephone: (828) 258-2991
                                Facsimile: (828) 257-2767
                                Email: lmcdevitt@vwlawfirm.com
                                Email: dwilkerson@vwlawfirm.com

                                Harlan Hentges (OBA #17911)
                                HENTGES & ASSOCIATES, PLLC
                                102 East Thatcher Street
                                Edmond, OK 73034
                                Telephone: (405) 340-6554
                                Facsimile: (405) 340-6562

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                                Email: harlan@organiclawyers.com

                                John C. Whitfield*
                                Caroline Taylor*
                                WHITFIELD BRYSON & MASON, LLP
                                19 North Main Street
                                Madisonville, KY 42431
                                Telephone: (270) 821-0656
                                Email: john@wbmllp.com
                                Email: caroline@wbmllp.com

                                Gary E. Mason*
                                WHITFIELD BRYSON & MASON, LLP
                                5101 Wisconsin Avenue, NW
                                Suite 305
                                Washington, DC 20036
                                Telephone: (202) 429-2290
                                Facsimile: (202) 429-2294
                                Email: gmason@wbmllp.com

                                J. Dudley Butler*
                                BUTLER FARM & RANCH LAW GROUP, PLLC
                                499-A Breakwater Drive
                                Benton, MS 39039
                                Telephone: (662) 673-0091
                                Facsimile: (662) 673-0091
                                Email: jdb@farmandranchlaw.com

                                Daniel M. Cohen*
                                CUNEO GILBERT & LADUCA, LLP
                                4725 Wisconsin Avenue, NW
                                Suite 200
                                Washington, DC 20016
                                Telephone: (202)789-3960
                                Facsimile: (202)789-1813
                                Email: Danielc@cuneolaw.com

                                David S. Muraskin*
                                PUBLIC JUSTICE, PC
                                1620 L Street NW, Suite 630
                                Washington, DC 20036
                                Telephone: (202) 861-5245
                                Facsimile: (202) 232-7203
                                Email: dmuraskin@publicjustice.net

                                Hollis Salzman *

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                                   Kellie Lerner*
                                   ROBINS KAPLAN, LLP
                                   399 Park Avenue, Suite 3600
                                   New York, NY 10022
                                   Telephone: (212) 980-7400
                                   Facsimile: (212) 980-7499
                                   Email: HSalzman@RobinsKaplan.com
                                   Email: KLerner@RobinsKaplan.com

                                   Aaron Sheanin*
                                   ROBINS KAPLAN, LLP
                                   2440 West El Camino Real
                                   Suite 100
                                   Mountain View, CA 94040
                                   Telephone: (650) 784-4040
                                   Facsimile: (650) 784-4041
                                   Email: ASheanin@RobinsKaplan.com

                                   M. Stephen Dampier*
                                   LAW OFFICES OF M. STEPHEN DAMPIER, P.C.
                                   55 North Section Street
                                   P.O. Box 161
                                   Fairhope, AL 36532
                                   Telephone: (251) 929-0900
                                   Facsimile: (251) 929-0800
                                   Email: dampier.steve@gmail.com


                                   Additional Class Counsel for Plaintiffs and the
                                   Proposed Class


* Pro Hac Vice




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                               CERTIFICATE OF SERVICE

       I hereby certify that on June 1, 2018, I electronically submitted the attached document to
the Clerk of the Court for filing using the ECF system for filing.

                                            /s/ Gary I. Smith, Jr.
                                            Gary I. Smith, Jr.




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